        Case 4:19-cr-00273-DCN Document 60 Filed 01/12/21 Page 1 of 11




                         UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO


  UNITED STATES OF AMERICA,
                                                  Case No. 4:19-cr-00273-DCN
                       Plaintiff,
                                                 MEMORANDUM DECISION AND
         v.                                      ORDER

  MATTHEW GARY LEANDER, III; and
  KEVIN RALPH NIXON,

                       Defendants.


                                     I. INTRODUCTION

       Pending before the Court are Defendant Matthew Leander’s Motion to Suppress

(Dkt. 37), and Defendant Kevin Ralph Nixon’s Motion to Join (Dkt. 46). On November

23, 2020, the Court held oral argument and took the Motions under advisement. Upon

review, and for the reasons set forth below, the Court DENIES the Motions.

                                     II. BACKGROUND

       During the early evening of June 19, 2019, Idaho State Police Trooper Shively

(“Trooper Shively”) attempted to conduct a traffic stop of a 1998 maroon Toyota Sienna

van with two male occupants for a perceived violation of Idaho Code § 49-906. That section

sets out certain requirements for taillights on vehicles. Trooper Shively noted that the van

was traveling with its lights illuminated. However, he also noted that “the rear passenger

taillight seemed to be out or not visible.” Trooper Shively eventually got behind the van in



MEMORANDUM DECISION AND ORDER - 1
        Case 4:19-cr-00273-DCN Document 60 Filed 01/12/21 Page 2 of 11




his patrol car. His dash-mounted camera showed that the driver-side taillight operated

normally, but the passenger-side taillight illuminated sporadically—during the pursuit, it

was illuminated at times; at other times it was not illuminated. Compare Dkt. 50, at 2–4;

with Dkt. 47, at 2.

       After observing this, Trooper Shively activated his emergency overhead lights to

initiate a traffic stop. Immediately after he did, Leander failed to stop at a stop sign and a

chase ensued. During the chase, Leander failed to stop at a second stop sign. Trooper

Shively then executed a pursuit intervention technique, thereby causing the van to collide

with a fence, become disabled, and stop. At that point, Trooper Shively exited his patrol

car and ordered the van occupants not to move. Despite Trooper Shively’s order to stop,

the driver of the van, who was later apprehended and identified as Leander, bolted away

from the van. Other officers found $1,379 and approximately three grams of

methamphetamine on Leander’s person at the time of his arrest.

       In the meantime, Trooper Shively detained Kevin Ralph Nixon, who was the

passenger of the van. Trooper Shively found a black pouch with a plastic bag of what

appeared to be controlled substances and drug paraphernalia on Nixon. Nixon admitted to

ingesting methamphetamine with Leander prior to the pursuit. Officers thereafter searched

the van both initially and later through an inventory search. They found approximately four

ounces of methamphetamine, an estimated five to ten grams of marijuana, various pills,

cellphones, ledgers, and drug paraphernalia.

       On August 27, 2019, Leander and Nixon were indicted each on a single count of

possession with intent to distribute methamphetamine and single asset forfeiture allegation.


MEMORANDUM DECISION AND ORDER - 2
          Case 4:19-cr-00273-DCN Document 60 Filed 01/12/21 Page 3 of 11




Dkt. 1. On May 1, 2020, Leander filed the pending Motion to Suppress. Dkt. 37. The Court

ordered Leander to file a brief in support of his Motion. Dkt. 38. On June 5, 2020, he filed

a Memorandum in Support of his Motion to Suppress Evidence, contesting the basis for

the initial traffic stop and requesting that the evidence recovered after the stop be excluded.

Dkt. 43. On June 24, 2020, Nixon filed a Motion to Join Leander’s Motion to Suppress

Evidence under Brendlin v. California, 551 U.S. 249, 259 (2007) (“[A] passenger may

bring a Fourth Amendment challenge to the legality of a traffic stop.”). Dkt. 46.

Subsequently, the Government responded to the Motions (Dkt. 47), and Leander replied

(Dkt. 50). On November 23, 2020, the Court held a hearing on the matter, which is now

ripe for a decision.

                                 III.   LEGAL STANDARD

       The Fourth Amendment protects citizens from unreasonable searches and seizures

by the government. U.S. Const. amend. IV. The stop of a vehicle is a seizure of its

occupants and is therefore subject to the Fourth Amendment standards. E.g., Arizona v.

Johnson, 555 U.S. 323, 333 (2009); Brendlin, 551 U.S.at 255; Whren v. United States, 517

U.S. 806, 809–10 (1996); Berkemer v. McCarty, 468 U.S. 420, 436–437 (1984) ( “We have

long acknowledged that stopping an automobile and detaining its occupants constitute a

seizure.” (cleaned up)). Indeed, “[a]n individual operating or traveling in an automobile

does not lose all reasonable expectation of privacy simply because the automobile and its

use are subject to government regulation.” Delaware v. Prouse, 440 U.S. 648, 662–63

(1979).




MEMORANDUM DECISION AND ORDER - 3
        Case 4:19-cr-00273-DCN Document 60 Filed 01/12/21 Page 4 of 11




       Whether such a seizure is reasonable under the Fourth Amendment, however,

depends on the totality of the circumstances. Navarette v. California, 572 U.S. 393, 397

(2014). To be reasonable, the Fourth Amendment requires at a minimum that law

enforcement have reasonable suspicion that a person is violating a traffic law to support

the stop of a vehicle. Id. at 396; Heien v. North Carolina, 574 U.S. 54, 60 (2014).

Reasonable suspicion is more than “a mere hunch” but “considerably less than proof of

wrongdoing by a preponderance of the evidence, and obviously less than is necessary for

probable cause.” Navarette, 572 U.S. at 397 (cleaned up). In other words, law enforcement

officers have reasonable suspicion when they have “a particularized and objective basis for

suspecting the particular person” is breaking the law. Id. at 396 (cleaned up).

       On the other hand, probable cause that a traffic violation or crime has been or is

being committed makes a stop per se reasonable. Whren v. United States, 517 U.S. 806,

810, 813–15 (1996). “Probable cause exists ‘when police officers have facts and

circumstances within their knowledge sufficient to warrant a reasonable belief that the

suspect had committed or was committing a crime.’” United States v. Wallace, 213 F.3d

1216, 1219. (9th Cir. 2000) (quoting Illinois v. Gates, 462 U.S. 213, 232 (1983)).

       While “[t]he Fourth Amendment contains no provision expressly precluding the use

of evidence obtained in violation of its commands,” United States v. Leon, 468 U.S. 897,

906 (1984), the exclusionary rule is “a judicially created remedy designed to safeguard

Fourth Amendment rights generally through its deterrent effect,” United States v.

Calandra, 414 U.S. 338, 348 (1974). Under the exclusionary rule, “illegally seized

evidence” cannot be used “against the search victim in a criminal trial.” Id. at 350.


MEMORANDUM DECISION AND ORDER - 4
        Case 4:19-cr-00273-DCN Document 60 Filed 01/12/21 Page 5 of 11




       When a defendant challenges a warrantless search or seizure, the government bears

the burden of establishing by a preponderance of evidence that the search or seizure did

not violate the Fourth Amendment. See United States v. Carbajal, 956 F.2d 924, 930 (9th

Cir. 1992); United States v. Johnson, 936 F.2d 1082, 1084 (9th Cir. 1991); see also United

States v. Jeffers, 342 U.S. 48, 51 (1951).

                                      IV.    ANALYSIS

       Leander and Nixon seek exclusion of all the evidence obtained after Trooper

Shively initiated the stop, contending that he violated their Fourth Amendment right against

unreasonable seizures. In particular, Leander argues that Trooper Shively did not have

reasonable suspicion to initiate the traffic stop. Nixon joins Leander’s Motion under

Brendlin, which definitively held that a passenger of a stopped vehicle has standing to

contest a seizure under the Fourth Amendment as well. 466 U.S. at 259. Nixon does not

make any separate arguments and echoes Leander’s arguments by incorporation.

       For its part, the Government first contends that there was reasonable suspicion for

the stop. The Government then argues that a seizure did not occur until the car Leander and

Nixon were in was physically stopped, as opposed to when Trooper Shively activated his

emergency lights in an attempt to stop them. The Government asserts that this is significant

because the men’s rights under the Fourth Amendment did not arise until they were in fact

seized and at that point there was abundant evidence to arrest them. The Government is

correct on these points.

A. Reasonable Suspicion

       The Supreme Court has long held that “many violations of minimum vehicle-safety


MEMORANDUM DECISION AND ORDER - 5
        Case 4:19-cr-00273-DCN Document 60 Filed 01/12/21 Page 6 of 11




requirements are observable, and something can be done about them by the observing

officer, directly and immediately.” Prouse, 440 U.S. at 660. The Supreme Court went on

to explain, however, that the acting officer must have “at least articulable and reasonable

suspicion” that the violation has occurred. Id. at 663. In Johnson, the Supreme Court

explained that “in a traffic-stop setting, the first Terry condition—a lawful investigatory

stop—is met whenever it is lawful for police to detain an automobile and its occupants

pending inquiry into a vehicular violation. The police need not have, in addition, cause to

believe any occupant of the vehicle is involved in criminal activity.” 555 U.S. at 327. The

Ninth Circuit has also stated, “[I]t is now clear that a police officer may stop and search

any vehicle so long as the officer is able to articulate any kind of traffic or equipment

violation.” United States v. Choudhry, 461 F.3d 1097, 1098 (9th Cir. 2006) (holding that a

civil parking violation “falls within the scope of the Supreme Court’s decision in Whren”).

       Here, Trooper Shively based his initiation of the traffic stop on the articulable and

specific fact that the taillight was not functioning properly, which he personally observed.

The Government’s still image from the dash-cam footage corroborates that the taillight was

not functioning. Dkt. 47, at 2. And Trooper Shively articulated this by stating that “the rear

passenger taillight seemed to be out or not visible.”

       Under Idaho Code § 49-906(1), the van was required to have two taillights

illuminated as otherwise required. Subsection (3) states, “Any tail lamp shall be wired so

to be lighted whenever the head lamps or auxiliary driving lamps are lighted.” Idaho Code

§ 49-906(3). Because Trooper Shively observed the van’s other lights functioning and the

unlit taillight, corroborated by the dash-cam image, there were sufficient objective facts for


MEMORANDUM DECISION AND ORDER - 6
        Case 4:19-cr-00273-DCN Document 60 Filed 01/12/21 Page 7 of 11




him to form a reasonable suspicion to initiate a traffic stop. Cf. United States v. Pulliam,

405 F.3d 782, 788–89 (9th Cir. 2005) (“The malfunctioning taillight provided lawful

grounds for the stop, regardless of the officers’ motivations.”); United States v. Wekall, 87

F. App’x 79, 80 (9th Cir. 2004) (holding that a “one to two inch rectangular crack in the

car’s taillight cover” was a sufficient basis for a traffic stop); United States v. McCartney,

550 F. Supp. 2d 1215, 1220 (E.D. Cal. 2008) (holding that “because the vehicle’s left rear

taillight was not properly functioning,” the officer lawfully stopped the vehicle).

       In response, Leander argues that reasonable suspicion could not have existed

because at various times during the pursuit, his passenger taillight was illuminated. Leander

painstakingly points out both the number of times and the exact points in the video at which

the taillight is functioning correctly. Dkt. 50, at 2–4. However, this argument is unavailing.

To start, the moments referred to in the video occur after Trooper Shively formed

reasonable suspicion of the taillight’s malfunction, which means that it had no bearing on

his decision to initiate the investigation and stop. Next, this argument neglects to mention

that the video also confirms the taillight was not illuminated at other times. To be fair,

Leander’s description implicitly admits this by emphasizing the number of times the

taillight functioned. But at best the taillight’s on-again-off-again functioning provided an

objective reason for Trooper Shively to investigate the matter. “The ultimate touchstone of

the Fourth Amendment is reasonableness.” Heien, 574 U.S. at 60 (cleaned up). Under these

facts, Trooper Shively’s decision to initiate a stop was reasonable.

       Next, Leander points to language in Idaho Code §§ 49-906(1) and 49-903. He argues

that suppression is appropriate because section 49-906’s “tail lamp requirements only


MEMORANDUM DECISION AND ORDER - 7
        Case 4:19-cr-00273-DCN Document 60 Filed 01/12/21 Page 8 of 11




become applicable when the lights are lighted as required” and section 49-903 “provides

that lighted lamps are required between sunset and sunrise.” Dkt. 50, at 6. He then discusses

the time of sunset and the initiation of the stop.

       Regardless of those times, Leander’s argument misstates the law and overlooks

pertinent portions of the Idaho Code. First, section 49-906(1) says that vehicles of the van’s

year “shall be equipped with at least two (2) tail lamps mounted on the rear, which when

lighted as required, shall comply with the provisions of this section.” Contrary to what

Leander implies, that language is not limited to the requirements of section 49-903. For

instance, section 49-906(3) requires tail lamps to be illuminated whenever the head lamps

are on, as previously discussed. Here, Trooper Shively noted that the van was traveling

with its headlights illuminated. Thus, under that statute, the time of the sunset is not the

question; rather, the taillight was required to be illuminated because the headlights were.

       Moreover, section 49-903 itself is not limited to the time between sunset and sunrise.

It states, “Every vehicle upon a highway at any time from sunset to sunrise and at any other

time when there is not sufficient light to render clearly discernible persons and vehicles on

the highway at a distance of five hundred (500) feet ahead shall display lighted lamps and

illuminating devices . . . .” Idaho Code § 49-903 (emphasis added). Here, the night’s sky

had darkened to a point that concluding this emphasized portion of the statute was

implicated would have been reasonable on Trooper Shively’s part. See Heien, 574 U.S. at

61 (“Reasonable suspicion arises from the combination of an officer’s understanding of the

facts and his understanding of the relevant law. The officer may be reasonably mistaken

on either ground.”). Therefore, these two statutory requirements provided two independent


MEMORANDUM DECISION AND ORDER - 8
        Case 4:19-cr-00273-DCN Document 60 Filed 01/12/21 Page 9 of 11




bases for Trooper Shively to investigate the situation further.

       In short, Trooper Shively had reasonable suspicion that the taillight was in violation

of Idaho law, and therefore the stop was not unreasonable and did not violate the Fourth

Amendment.

B. Timing of Seizure

       Regardless of whether Trooper Shively had reasonable suspicion at the time he

activated his emergency lights, Leander faces an even more insurmountable legal

challenge: he was not in fact seized at that moment. Generally speaking, a person is seized

within the meaning of the Fourth Amendment if, in view of all the circumstances, a

reasonable person would have believed he or she was not free to leave. INS v. Delgado,

466 U.S. 210, 215 (1984); United States v. Mendenhall, 446 U.S. 544, 554 (1980).

However, if an individual does not submit to a show of authority he or she has not been

seized for purposes of the Fourth Amendment. Brendlin, 551 U.S. at 254 (“A police officer

may make a seizure by a show of authority and without the use of physical force, but there

is no seizure without actual submission; otherwise, there is at most an attempted seizure,

so far as the Fourth Amendment is concerned.”). The United States Supreme Court

considered whether a seizure occurs even though the subject does not yield to a show of

authority in California v. Hodari D. 499 U.S. 621 (1991). There, the Court specifically

held that “since Hodari did not comply with” an injunction to stop, “he was not seized until

he was tackled.” Id. at 629. In the context of roadside stops, the Johnson Court clarified

that “[a] lawful roadside stop begins when a vehicle is pulled over for investigation of a

traffic violation.” 555 U.S. at 333.


MEMORANDUM DECISION AND ORDER - 9
        Case 4:19-cr-00273-DCN Document 60 Filed 01/12/21 Page 10 of 11




       This jurisprudence makes clear that Leander was not seized until, at the soonest,1

Trooper Shively executed the pursuit intervention technique. Leander’s Fourth

Amendment rights therefore did not arise until that moment. At that point, Trooper Shively

had a robust basis for probable cause, including the malfunctioning taillight, failure to stop

at two stop signs, and failing to yield to a police officer in violation of Idaho Code §§ 49-

606 (tail lamp), 49-807(2) (stop sign), and 49-625 (failing to yield). Leander did not submit

to Trooper Shively’s show of authority but chose to disregard the siren and emergency

lights. Thus, even if Trooper Shively did not have reasonable suspicion at the point in

which he activated his overhead lights, probable cause existed at the time Trooper Shively

caused the car to come to a crashing halt. Such actions were reasonable under the Fourth

Amendment due to Leander’s actions. See, e.g., Whren, 517 U.S. at 810. Accordingly,

Leander’s Motion is denied as exclusion of the evidence is unwarranted under the Fourth

Amendment.

C. Nixon’s Joined Motion

       Although Nixon indeed has standing to dispute the lawfulness of the traffic stop,

Johnson, 555 U.S. at 332 (“A passenger therefore has standing to challenge a stop’s

constitutionality.”); Brendlin, 551 U.S. at 259, his claim that the traffic stop was

unreasonable and violative of the Fourth Amendment fails for the same reasons that




1
  An argument could be made that Leander was not seized until he was apprehended by the other officers.
However, the Government has not made that argument, and the Court’s decision on the lawfulness of the
stop would be the same in any event. Therefore, the Court sets this argument aside merely as food for
thought.


MEMORANDUM DECISION AND ORDER - 10
         Case 4:19-cr-00273-DCN Document 60 Filed 01/12/21 Page 11 of 11




Leander’s claim fails. Accordingly, his Motion is denied as well.2

                                             VI. ORDER

The Court HEREBY ORDERS:

        1.      Lender’s Motion to Suppress (Dkt. 37) is DENIED.

        2.      Nixon’s Motion to Suppress as a joined motion to Leander’s Motion (Dkt.

                46) is also DENIED.


                                                         DATED: January 12, 2021


                                                         _________________________
                                                         David C. Nye
                                                         Chief U.S. District Court Judge




2
  The Government also makes arguments related to the Terry search of Nixon, the initial search of the van
pursuant to probable cause, and a later inventory search of the van. Dkt. 47, at 6–10. Leander’s arguments
to the contrary all stem from his same arguments above—the stop was unlawful. Dkt. 50, at 7 (focusing on
the “illegal traffic stop” and arguing that “the inventory impermissibly stemmed from Trooper Shively’s
initial act of commencing an illegal traffic stop”). Therefore, his arguments do not change the Court’s
conclusion to deny his Motion for the same reasons stated above—the stop was lawful. Moreover, the
Government’s arguments are also persuasive on these points because it notes the probable cause that existed
and routine policy of inventory under South Dakota v. Opperman, 428 U.S. 364 (1976) and Idaho law.


MEMORANDUM DECISION AND ORDER - 11
